            Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 1 of 51




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

NUANCE COMMUNICATIONS, INC.,

      Plaintiff,
                                                    Case No.
      v.
                                                    JURY TRIAL DEMANDED

OMILIA NATURAL LANGUAGE
SOLUTIONS, LTD.,

      Defendant.



                       COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Nuance Communications, Inc. (“Nuance” or “Plaintiff”) files this Complaint for

patent infringement against Defendant Omilia Natural Language Solutions, Ltd. (“Omilia” or

“Defendant”), and alleges as follows:

                                  NATURE OF THE ACTION

       1.       This is an action for patent infringement of United States Patent Nos. 7,505,905

(“the ’905 Patent”), 8,532,993 (“the ’993 Patent”), 8,027,839 (“the ’839 Patent”), 8,521,534

(“the ’534 Patent”), 8,379,804 (“the ’804 Patent”), 8,909,532 (“the ‘532 Patent”), 7,149,688

(“the ‘688 Patent”), and 6,999,925 (“the ‘925 Patent”) (collectively, the “Asserted Patents”)

under the United States Patent Laws, 35 U.S.C. § 1 et seq. Nuance is a leading designer and

provider of innovative Automated Speech Recognition (ASR) and transcription technologies for

businesses around the world.      Nuance’s Conversational Interactive Voice Response (IVR)

systems and related technologies are used by many leading call centers, in multiple languages,

around the world. Nuance owns patents covering these ASR, IVR, and translation technologies,

including the Asserted Patents.



                                                1
            Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 2 of 51




       2.       Nuance brings this action because Omilia chose to infringe Nuance’s valuable

intellectual property instead of expending time and resources to create and develop its own

technology. Omilia’s infringing conduct is no accident; it first learned of Nuance’s innovation in

interactive voice response and speech recognition technologies long ago, when it licensed certain

of Nuance’s speech verification and recognition software products overseas for use in Omilia’s

systems outside the United States. That relationship ended years ago, yet Omilia continues to

use Nuance technology, and Omilia has simply opted to infringe Nuance’s patents, rather than

attempt to compete legitimately in the market using its own research and development. More

recently, with Omilia’s expansion into North America, Omilia has begun infringing Nuance’s

United States patents. Nuance seeks to recover damages for Omilia’s wrongful conduct and to

stop Omilia’s continuing willful infringement.

                                            PARTIES

       3.       Nuance is a corporation formed under the laws of Delaware and has a principal

place of business at 1 Wayside Road, Burlington, Massachusetts. Nuance is a global leader in

developing and providing innovative interactive voice response and speech recognition

technologies for business and individuals.       A wide variety of industries rely on Nuance’s

advanced solutions to power and enhance interactions with customers and improve user

experiences, including financial services, healthcare, telecommunications, retail, travel, utilities,

government, and insurance. Nuance owns patents covering these technologies, including the

Asserted Patents.

       4.       Upon information and belief, Omilia is a foreign entity formed under the laws of

the country of Greece with a principal place of business in the country of Cyprus at Gladstonos

55, Roussos Center Point, Office 3C-3D, 3040 Limassol.




                                                 2
                Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 3 of 51




                                     JURISDICTION AND VENUE

           5.       This is an action for patent infringement arising under the patent laws of the

United States, 35 U.S.C. § 1 et seq. This Court has subject matter jurisdiction over this action

under at least 28 U.S.C. §§ 1331 and 1338(a).

           6.       This Court has personal jurisdiction over Omilia because, upon information and

belief, Omilia operates or has operated a place of business in this State, located at 51 Melcher

Street, 1st Floor, Boston, MA 02210, through which it markets and sells or has marketed and sold

the infringing products described herein.

           7.       This Court also has personal jurisdiction over Omilia because, upon information

and belief, Omilia has marketed and sold the infringing products described herein to customers

in this State.

           8.       This Court also has personal jurisdiction over Omilia because, upon information

and belief, end-users of the infringing products described herein are residents of this State.

           9.       In the alternative, to the extent Omilia contests personal jurisdiction in this State,

service or waiver of the summons in this action will establish that this Court has personal

jurisdiction over Omilia under Fed. R. Civ. P. 4(k). Omilia states that it currently “work[s] with

a number of financial institutions and telecom operators in the USA, who want to offer their

customer base a truly user-friendly, effective, omni-channel self-service solution, while slashing

operating costs.”1 Upon information and belief, Omilia markets and sells the infringing products

described herein to customers throughout the United States. Upon information and belief Omilia

attends and has attended trade shows in the United States for the purpose of marketing and

selling the infringing products, including in Washington, D.C., Santa Monica, CA, Orlando, FL,

and Las Vegas NV. Upon information and belief, end-users of the infringing products described
1
    https://omilia.com/about-us/.


                                                      3
          Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 4 of 51




herein reside throughout the United States. Thus, to the extent that Omilia “is not subject to

jurisdiction in any state’s courts of general jurisdiction,” “exercising jurisdiction [would]

nevertheless [be] consistent with the United States Constitution and laws.”

       10.     Venue is proper in this District under 28 U.S.C. §§ 1391(b)(1)-(3) because Omilia

is subject to personal jurisdiction in the State of Massachusetts and thus resides in this District

for the purposes of venue. In the alternative, to the extent Omilia does not reside in this District

or elsewhere in the United States for venue purposes, Omilia is subject to suit in any judicial

district, including this District, under 28 U.S.C. § 1391(c)(3). Further, because Nuance is a

resident of this District and the owner of the Asserted Patents, a substantial part of the events or

omissions giving rise to the claim – Omilia’s infringement – occurred in this District. Venue is

also proper in this District under 28 U.S.C. § 1400(b) because Omilia resides in this District for

venue purposes, and because it has committed acts of infringement and has or has had a regular

and established place of business in this District.

                                              FACTS

                                       The Asserted Patents

       11.     The ’905 Patent is titled, “In-the-field adaptation of a large vocabulary automatic

speech recognizer (ASR).” The U.S. Patent and Trademark Office (“PTO”) issued the ’905

Patent on March 17, 2009. Nuance is the owner by assignment of all rights, title, and interests in

and to the ’905 Patent, including all rights to bring actions and recover damages for infringement

thereof. A true and correct copy of the ’905 Patent is attached as Exhibit A.

       12.     The ’993 Patent is titled, “Speech recognition based on pronunciation modeling.”

The PTO issued the ’993 Patent on September 10, 2013. Nuance is the owner by assignment of

all rights, title, and interests in and to the ’993 Patent, including all rights to bring actions and




                                                  4
         Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 5 of 51




recover damages for infringement thereof. A true and correct copy of the ’993 Patent is attached

as Exhibit B.

       13.      The ’839 Patent is titled, “Using an automated speech application environment to

automatically provide text exchange services.” The PTO issued the ’839 Patent on September

27, 2011. Nuance is the owner by assignment of all rights, title, and interests in and to the ’839

Patent, including all rights to bring actions and recover damages for infringement thereof. A true

and correct copy of the ’839 Patent is attached as Exhibit C.

       14.      The ’534 Patent is titled, “Dynamically extending the speech prompts of a

multimodal application.” The PTO issued the ’534 Patent on August 27, 2013. Nuance is the

owner by assignment of all rights, title, and interests in and to the ’534 Patent, including all

rights to bring actions and recover damages for infringement thereof. A true and correct copy of

the ’534 Patent is attached as Exhibit D.

       15.      The ’804 Patent is titled, “Using a complex events processor (CEP) to direct the

handling of individual call sessions by an interactive voice response (IVR) system.” The PTO

issued the ’804 Patent on February 19, 2013. Nuance is the owner by assignment of all rights,

title, and interests in and to the ’804 Patent, including all rights to bring actions and recover

damages for infringement thereof. A true and correct copy of the ’804 Patent is attached as

Exhibit E.

       16.      The ‘532 Patent is titled, “Supporting multi-lingual user interaction with a

multimodal application.” The PTO issued the ‘532 Patent on December 9, 2014. Nuance is the

owner by assignment of all rights, title, and interests in and to the ‘532 Patent, including all

rights to bring actions and recover damages for infringement thereof. A true and correct copy of

the ‘532 Patent is attached as Exhibit F.




                                                5
              Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 6 of 51




           17.      The ‘688 Patent is titled, “Multi-lingual speech recognition with cross-language

context modeling.” The PTO issued the ‘688 Patent on December 12, 2006. Nuance is the

owner by assignment of all rights, title, and interests in and to the ‘688 Patent, including all

rights to bring actions and recover damages for infringement thereof. A true and correct copy of

the ‘688 Patent is attached as Exhibit G.

           18.      The ‘925 Patent is titled, “Method and apparatus for phonetic context adaptation

for improved speech recognition.” The PTO issued the ‘925 Patent on February 14, 2006.

Nuance is the owner by assignment of all rights, title, and interests in and to the ‘925 Patent,

including all rights to bring actions and recover damages for infringement thereof. A true and

correct copy of the ‘925 Patent is attached as Exhibit H.

                                     Omilia’s Infringing Conduct

           19.      Rather than attempt to develop its own products to compete fairly with Nuance in

the marketplace following the termination of the relationship, Omilia replicated Nuance’s

innovative technology and infringed Nuance’s valuable intellectual property.

           20.      According to Omilia’s website, Omilia entered the “North American market” in

2015, and in 2016 “deployed the first ever truly Conversational Virtual Agent solution for Royal

Bank of Canada, the largest and most innovative bank in the country.”2 The website further

asserts that “[t]oday, [Omilia is] working with a number of financial institutions and telecom

operators in the USA, who want to offer their customer base a truly user-friendly, effective,

omni-channel self-service solution, while slashing operating costs.”3

           21.      Omilia describes its software platform as including “Artificial Intelligence and

Natural Language Understanding,” “Conversational Virtual Agents,” “Natural Language UI,”


2
    https://omilia.com/about-us/.
3
    Id.


                                                    6
           Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 7 of 51




“an “intelligent Dialog Management platform (DiaManΤ®),” “an innovative Natural Language

Understanding engine (deepNLU®),” and “the most accurate on-premise ASR engine

(deepASR®) in the world, with accuracies in the Banking and Telecoms domains touching

human-level performance.”4

        22.      Omilia claims that these technologies “offer a true conversational IVR

experience” and “ensure[] accurate speaker identification.”5

        23.      Again according to Omilia’s website, Omilia integrates or packages these

technologies into an “Omni-Channel Conversational Platform” it calls “DiaManΤ®” that

“provides the infrastructure and core capabilities to power an omni-channel conversational

experience.” Omilia describes this platform as a “single unified platform for conversational

customer service on all channels6” (the “Accused IVR Platform”).

        24.      Omilia asserts that it can structure the Accused IVR Platform depending on the

particular application and customer needs, including “Xpert® Packages” for banking, telecoms,

insurance, travel, and utilities customers.7 The Accused IVR Platform can also include an

“omIVR Call Center” that “is a “telco-grade IVR capability that allows DiaManΤ® to easily

integrate with [an] enterprise’s telephony.”8

        25.      Omilia further states that using “Digital Channel Plug-in’s,” it can configure the

Accused IVR Platform to operate with mobile phones or text-based applications like SMS text-

messaging, email, or Facebook Messenger.9




4
  Id.
5
  Id.
6
  https://omilia.com/technology/omni-channel-conversational-platform/; https://omilia.com/.
7
  Id.
8
  Id.
9
  Id.


                                                        7
          Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 8 of 51




       26.     Upon information and belief, the Accused IVR Platform infringes one or more

claims of the Asserted Patents, including at least one claim of each of the Asserted Patents, as

described below.

       27.     Omilia has known about the ’905 Patent, the ’993 Patent, and the ’804 Patent and

its infringement thereof since at least October 9, 2018, when Omilia received a letter from

Nuance identifying these patents and the aspects of Accused IVR Platform that meet the claims

of the patents. On or around October 22, 2018, Omilia sent a response letter stating that it would

examine the patents and provide a response. On or around February 12, 2019, Nuance finally

received follow-up correspondence, but said correspondence contained no substantive response

on the identified issues.       On or around March 12, 2019, Nuance received additional

correspondence simply stating, without explanation, that “Omilia does not infringe the Nuance

patents” and referencing unidentified alleged “prior art publications that are relevant to the

Nuance patent claims.” On or around March 15, 2019, Nuance requested further details and a

substantive response from Omilia, but has not received any response.

       28.     Upon information and belief, Omilia was aware of the ’839, ’534, ‘532, ‘688, and

‘925 Patents at least as of the date of the filing of this Complaint.

       29.     Omilia’s infringement is deliberate, willful, and knowing, with conscious

disregard of Nuance’s rights, entitling Nuance to enhanced damages.

       30.     Omilia’s infringement is causing irreparable harm and monetary damages to

Nuance, entitling Nuance to both monetary damages and injunctive relief.

                    COUNT I: INFRINGEMENT OF THE ’905 PATENT
                                UNDER 35 U.S.C. § 271

       31.     Nuance incorporates by reference the allegations contained in the foregoing

paragraphs as though fully stated herein.



                                                  8
              Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 9 of 51




           32.      Omilia and/or its customers directly infringe one or more claims of the ’905

Patent under 35 U.S.C. § 271(a), including at least Claim 1, either literally or under the doctrine

of equivalents by making, using, offering to sell, selling, and/or importing the Accused IVR

Platform in the United States without permission or license from Nuance.

           33.      By way of example only and not limitation, Claim 1 of the ’905 Patent claims:

           1. A method of improving the recognition accuracy of a speech recognizer
           comprising the steps of:

           deploying the speech recognizer in an environment to receive live input
           data;

           receiving the live input data and an original speech signal;

           without supervision, selecting at least one adaptation algorithm from a
           plurality of adaptation algorithms, and

           applying the selected adaptation algorithm to the received live input data,

           said live input data and original speech signal being in the form of speech
           data required for executing the adaptation algorithm, as it is being
           recognized to improve at least one application-specific feature for the
           recognition accuracy of the speech recognizer; and

           redeploying the adapted speech recognizer in the target environment.

           34.      The Accused IVR Platform meets each element in at least Claim 1 of the ’905

Patent. For example, Omilia and/or its customers utilizing the Accused IVR Platform perform a

“method of improving the recognition accuracy of a speech recognizer.” Omilia states that the

Accused IVR Platform includes an improved automatic speech recognizer (“ASR”):10




10
     https://omilia.com/about-us/ (annotated by counsel).


                                                            9
          Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 10 of 51




        35.      Omilia and/or its customers utilizing the Accused IVR Platform perform the step

of “deploying the speech recognizer in an environment to receive live input data.” The Accused

IVR Platform receives and services customer calls:11




        36.      Omilia and/or its customers utilizing the Accused IVR Platform perform the step

of “receiving the live input data and an original speech signal.” The Accused IVR Platform

receives live input data and an original speech signal from a caller.

        37.      Omilia and/or its customers utilizing the Accused IVR Platform perform the step

of “without supervision, selecting at least one adaptation algorithm from a plurality of adaptation

algorithms.” Omilia touts the Accused IVR Platform as having an ASR engine that can adapt

dynamically to recognize speech when it detects different languages or accents.                            Upon




11
  Id. (annotated by counsel); https://omilia.com/technology/omni-channel-conversational-platform/ (annotated by
counsel).


                                                       10
             Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 11 of 51




information and belief, the Accused IVR Platform achieves this at least by selecting adaptation

algorithms tailored for different languages or accents:12




           38.      Omilia and/or its customers utilizing the Accused IVR Platform perform the step

of “applying the selected adaptation algorithm to the received live input data.”             Upon

information and belief, at least because the Accused IVR Platform is able to adapt to recognize

and process various languages or accents as described in the previous paragraph, the Accused

IVR Platform is applying selected adaptation algorithms corresponding to the user’s accent or

language to the live input data.




12
     https://omilia.com/technology/dnn-speech-recognition/ (annotated by counsel).


                                                          11
         Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 12 of 51




       39.     Upon information and belief, Omilia and/or its customers utilizing the Accused

IVR Platform perform the step of “said live input data and original speech signal being in the

form of speech data required for executing the adaptation algorithm, as it is being recognized to

improve at least one application-specific feature for the recognition accuracy of the speech

recognizer.” Moreover, upon information and belief the Accused IVR Platform is capable of

performing such step because in order to perform effective ASR for various accents and

languages, the Accused IVR Platform is configured to adapt to a change from one accent or

language to another accent or language. As adaptation algorithms are deployed, at least the

ability to recognize a new accent or language would represent an improvement to at least one

application-specific feature. Further, upon information and belief, the Accused IVR Platform’s

adaptation algorithms are configured to compare speech data to determine if a new speech

transcription would improve at least one application-specific feature for the recognition

accuracy.

       40.     Omilia and/or its customers utilizing the Accused IVR Platform perform the step

of “redeploying the adapted speech recognizer in the target environment.” Upon information and

belief, in order for the Accused IVR Platform to achieve satisfactory or improved recognition,

the ASR is redeployed in the environment after adapting to different accents or languages

through the use of the adaptation algorithms.

       41.     Omilia also induces the infringement of the ’905 Patent by its customers in the

United States as discussed above under 35 U.S.C. § 271(b), both by configuring the Accused

IVR Platform to operate in a manner that Omilia knows would infringe the methods claimed in

the ’905 Patent and by encouraging its customers to use the Accused IVR Platform in a manner

that Omilia knows would infringe the methods claimed in the ’905 Patent. Omilia has had




                                                12
             Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 13 of 51




knowledge of the ’905 Patent since at least October 9, 2018. According to Omilia’s website,

through          its   “Certified    Partner     Program,”      Omilia   has   worked   with   Concentrix

Corporation/Convergys, Speech-Soft Solutions, LLC, and NICE inContact to make, use, offer to

sell, or sell the Accused IVR Platform in the United States:13




           42.         Omilia has also sold or offered to sell the Accused IVR Platform in an infringing

configuration to its customers, which, on information and belief, have utilized the Accused IVR

Platform in the United States:14




13
     https://omilia.com/our-partners/ (annotated by counsel).
14
     Id.


                                                           13
          Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 14 of 51




         43.   Omilia also contributes to the infringement of the ’905 Patent by its customers in

the United States as discussed above under 35 U.S.C. § 271(c). Omilia has had knowledge of the

’905 Patent since at least October 9, 2018. The Accused IVR Platform is a material part of

practicing at least the methods of Claim 1 of the ’905 Patent, has no substantial non-infringing

uses, is not a staple article of commerce, and is specifically made and adapted for use in an

infringing manner, as discussed above.

         44.   Upon information and belief, Omilia has made and is continuing to make

unlawful gains and profits from its infringement of the ’905 Patent.

         45.   As detailed above, Omilia has continued its infringement despite having

knowledge of the ’905 Patent and Nuance’s infringement claims.

         46.   Omilia’s infringement has caused and will continue to cause irreparable harm to

Nuance unless Omilia’s infringing activities are preliminarily and permanently enjoined by this

Court.




                                                14
         Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 15 of 51




       47.     Omilia’s infringement has also caused monetary damages to Nuance in an amount

to be determined at trial.

                    COUNT II: INFRINGEMENT OF THE ’993 PATENT
                                 UNDER 35 U.S.C. § 271

       48.     Nuance incorporates by reference the allegations contained in the foregoing

paragraphs as though fully stated herein.

       49.     Omilia and/or its customers directly infringe one or more claims of the ’993

Patent under 35 U.S.C. § 271(a), including at least Claim 17, either literally or under the doctrine

of equivalents by making, using, offering to sell, selling, and/or importing the Accused IVR

Platform in the United States without permission or license from Nuance.

       50.     By way of example only and not limitation, Claim 17 of the ’993 Patent claims:

       17. A computer-readable storage device having instructions stored which,
       when executed on a processor, cause the processor to perform operations
       comprising:

       approximating transcribed speech using a phonemic transcription dataset
       associated with a speaker, to yield a language model, where the phonemic
       transcription dataset is based on a pronunciation model of the speaker;

       incorporating, into the language model, pronunciation probabilities
       associated with respective unique labels for each different pronunciation
       of a word,

       wherein the respective unique label for a most frequent word indicates a
       special status in the language model; and

       after incorporating the pronunciation probabilities into the language
       model, recognizing an utterance using the language model.

       51.     The Accused IVR Platform meets each element in at least Claim 17 of the ’993

Patent. For example, to the extent the preamble of Claim 17 is limiting, the Accused IVR

Platform includes a “computer-readable storage device having instructions stored which, when

executed on a processor, cause the processor to perform operations.”



                                                15
             Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 16 of 51




           52.      The operations capable of being performed by the Accused IVR Platform include

“approximating transcribed speech using a phonemic transcription dataset associated with a

speaker, to yield a language model, where the phonemic transcription dataset is based on a

pronunciation model of the speaker.” Omilia represents that the Accused IVR Platform has good

speech recognition capabilities for various accents and languages that comes from the

development of ASR models using actual recorded speech from real calls. Upon information

and belief, the Accused IVR Platform does so at least by using a phonemic transcription dataset

based on pronunciation models associated with various accents or languages to transcribe

speech:15




           53.      The operations capable of being performed by the Accused IVR Platform include

“incorporating, into the language model, pronunciation probabilities associated with respective
15
     https://omilia.com/technology/dnn-speech-recognition/ (annotated by counsel).


                                                          16
          Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 17 of 51




unique labels for each different pronunciation of a word.” Upon information and belief, the

Accused IVR Platform is capable of recognizing open-ended utterances, indicating that it uses a

statistical language model (“SLM”) for speech recognition. Omilia claims that the Accused IVR

Platform is capable of recognizing different accents or languages while still achieving reduced

error rates, indicating that the Accused IVR Platform assigns pronunciation probabilities to

different pronunciations of a word. Omilia also claims that the Accused IVR Platform tracks

words and performs statistical analysis on historical data, further indicating that the Accused IVR

Platform uses probability-based techniques in its language models:16




16
  https://omilia.com/technology/dnn-speech-recognition/ (annotated by counsel);
https://omilia.com/technology/business-insights/ (annotated by counsel); https://aws.amazon.com/solutions/case-
studies/Omilia/ (annotated by counsel).


                                                        17
        Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 18 of 51




       54.    The “respective unique label for a most frequent word” within the Accused IVR

Platform“indicates a special status in the language model.” Upon information and belief, the

Accused IVR Platform uses a SLM and uses a probabilistic assessment to indicate special status

in the language model for the most frequently used words.

       55.    “[A]fter incorporating the pronunciation probabilities into the language model,”

the Accused IVR Platform “recogniz[es] an utterance using the language model.”            Upon

information and belief, at least because the Accused IVR Platform uses SLM and assigns

pronunciation probabilities to different pronunciations of a word in a language model, the

Accused IVR Platform recognizes utterances based on this language model.

       56.      Omilia also induces the infringement of the ’993 Patent by its customers in the

United States as discussed above under 35 U.S.C. § 271(b), both by configuring the Accused

IVR Platform to operate in a manner that Omilia knows infringes the ’993 Patent and by

encouraging its customers to use the Accused IVR Platform in a manner that Omilia knows

infringes the ’993 Patent. Omilia has had knowledge of the ’993 Patent since at least October 9,

2018. According to Omilia’s website, through its “Certified Partner Program,” Omilia has

worked with Concentrix Corporation/Convergys, Speech-Soft Solutions, LLC, and NICE


                                               18
          Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 19 of 51




inContact to make, use, offer to sell, or sell the Accused IVR Platform in the United States. See

¶ 41.

         57.   Omilia has also sold or offered to sell the Accused IVR Platform in an infringing

configuration to its customers in the United States. See ¶ 42.

         58.   Omilia also contributes to the infringement of the ’993 Patent by its customers in

the United States as discussed above under 35 U.S.C. § 271(c). Omilia has had knowledge of the

’993 Patent since at least October 9, 2018. The Accused IVR Platform is a material part of

practicing at least the methods of Claim 17 of the ’993 Patent, has no substantial non-infringing

uses, is not a staple article of commerce, and is specifically made and adapted for use in an

infringing manner, as discussed above.

         59.   Upon information and belief, Omilia has made and is continuing to make

unlawful gains and profits from its infringement of the ’993 Patent.

         60.   As detailed above, Omilia has continued its infringement despite having

knowledge of the ’993 Patent and Nuance’s infringement claims.

         61.   Omilia’s infringement has caused and will continue to cause irreparable harm to

Nuance unless Omilia’s infringing activities are preliminarily and permanently enjoined by this

Court.

         62.   Omilia’s infringement has also caused monetary damages to Nuance in an amount

to be determined at trial.

                       COUNT III: INFRINGEMENT OF THE ’839 PATENT
                                    UNDER 35 U.S.C. § 271

         63.   Nuance incorporates by reference the allegations contained in the foregoing

paragraphs as though fully stated herein.




                                                19
          Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 20 of 51




        64.      Omilia and/or its customers directly infringe one or more claims of the ’839

Patent under 35 U.S.C. § 271(a), including at least Claim 17, either literally or under the doctrine

of equivalents by making, using, offering to sell, selling, and/or importing the Accused IVR

Platform in the United States without permission or license from Nuance.

        65.      By way of example only and not limitation, Claim 17 of the ’839 Patent claims:

        17. A system for providing text exchange services comprising:

        a text exchange client configured to send and receive real-time text
        exchanges over a text exchange channel;

        a speech application environment configured to execute an automated
        speech response application that permits users to interact in real-time over
        a voice channel; and

        a Chatbot server configured to establish a communication session
        involving the text exchange client and the automated speech response
        application,

        wherein the Chatbot server can dynamically convert messages between the
        text exchange client and the speech response application during the
        communication session in a manner transparent to the text exchange client
        and to the automated speech response application.

        66.      The Accused IVR Platform meets each element in at least Claim 17 of the ’839

Patent. For example, to the extent the preamble of Claim 17 is limiting, the Accused IVR

Platform includes a “system for providing text exchange services.” In addition to providing

speech applications, the Accused IVR Platform is configured to provide text exchange services

that allow customers to interact through SMS text messaging, email, FaceBook Messenger, or

other text-based applications:17




17
  https://omilia.com/ (annotated by counsel); https://omilia.com/technology/omni-channel-conversational-platform/
(annotated by counsel).


                                                       20
Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 21 of 51




                              21
          Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 22 of 51




         67.   The system of the Accused IVR Platform includes “a text exchange client

configured to send and receive real-time text exchanges over a text exchange channel.” At least

because the Accused IVR Platform allows customers to perform transactions such as mobile

banking through text commands, the Accused IVR Platform’s constituent applications, like

omChat or omMobile, must be configured to interact in real-time over a text exchange channel

with another text exchange device, like a bank server.

         68.   The system of the Accused IVR Platform includes “a speech application

environment configured to execute automated an automated speech response application that

permits users to interact in real-time over a voice channel.” At least because the Accused IVR

Platform allows customers to perform transactions such as mobile banking using speech

commands, the Accused IVR Platform must have a speech application environment. The speech

application environment of the Accused IVR Platform is configured to execute automated speech

response applications that permit users to interact in real-time over a voice channel. See ¶¶ 354,

66-67.

         69.   The system of the Accused IVR Platform includes “a Chatbot server configured to

establish a communication session involving the text exchange client and the automated speech

response application.” As described above, the Accused IVR Platform is an integrated platform

that includes both ASR engines for speech recognition and text exchange services with


                                               22
          Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 23 of 51




applications such as omChat and omMobile.                 Upon information and belief, the integrated

environment of the Accused IVR Platform establishes a communication session between such

ASR engines and text exchange services. Further, customers utilizing the Accused IVR Platform

at least in the financial services context can conduct banking transactions through text and email

or speech commands:18




        70.     The Chatbot server of the Accused IVR Platform is capable of “dynamically

convert[ing] messages between the text exchange client and the speech response application

during the communication session in a manner transparent to the text exchange client and to the

18
  https://www.rbcroyalbank.com/ways-to-bank/mobile/rbc-mobile-app/index.html (annotated by counsel);
https://www.rbcroyalbank.com/ways-to-bank/mobile/index.html (annotated by counsel).


                                                     23
             Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 24 of 51




automated speech response application.” As described above and below, the Accused IVR

Platform is an integrated, omni-channel technology that can dynamically and automatically

convert interactions between a voice recognition server channel and a text exchange channel

during a communication session:19




           71.      Omilia also induces the infringement of the ’839 Patent by its customers in the

United States as discussed above under 35 U.S.C. § 271(b), both by configuring the Accused

IVR Platform to operate in a manner that Omilia knows infringes the ’839 Patent and by

encouraging its customers to use the Accused IVR Platform in a manner that Omilia knows

infringes the ’839 Patent. Omilia has had knowledge of the ’839 Patent since at least the filing

19
     https://omilia.com/technology/omni-channel-conversational-platform/ (annotated by counsel).


                                                         24
          Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 25 of 51




of this Complaint. According to Omilia’s website, through its “Certified Partner Program,”

Omilia has worked with Concentrix Corporation/Convergys, Speech-Soft Solutions, LLC, and

NICE inContact to make, use, offer to sell, or sell the Accused IVR Platform in the United

States. See ¶ 41.

         72.   Omilia has also sold or offered to sell the Accused IVR Platform in an infringing

configuration to its customers in the United States. See ¶ 42.

         73.   Omilia also contributes to the infringement of the ’839 Patent by its customers in

the United States as discussed above under 35 U.S.C. § 271(c). Omilia has had knowledge of the

’839 Patent at least as of the filing of this Complaint. The Accused IVR Platform is a material

part of practicing at least the methods of Claim 17 of the ’839 Patent, has no substantial non-

infringing uses, is not a staple article of commerce, and is specifically made and adapted for use

in an infringing manner, as discussed above.

         74.   Upon information and belief, Omilia has made and is continuing to make

unlawful gains and profits from its infringement of the ’839 Patent.

         75.   Omilia’s infringement has caused and will continue to cause irreparable harm to

Nuance unless Omilia’s infringing activities are preliminarily and permanently enjoined by this

Court.

         76.   Omilia’s infringement has also caused monetary damages to Nuance in an amount

to be determined at trial.

                       COUNT IV: INFRINGEMENT OF THE ’534 PATENT
                                   UNDER 35 U.S.C. § 271

         77.   Nuance incorporates by reference the allegations contained in the foregoing

paragraphs as though fully stated herein.




                                                25
             Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 26 of 51




           78.      Omilia and/or its customers directly infringe one or more claims of the ’534

Patent under 35 U.S.C. § 271(a), including at least Claim 13, either literally or under the doctrine

of equivalents by making, using, offering to sell, selling, and/or importing the Accused IVR

Platform in the United States without permission or license from Nuance.

           79.      By way of example only and not limitation, Claim 13 of the ’534 Patent claims:

           13. A computer program product for dynamically extending speech
           prompts of a multimodal application, the computer program product
           comprising:

           a recordable media having computer program instructions configured to:

           receive a media file having a metadata container;

           retrieve, from the metadata container, a speech prompt related to content
           stored in the media file for inclusion in the multimodal application; and

           modify, the multimodal application to include the speech prompt.

           80.      The Accused IVR Platform meets each element in at least Claim 13 of the ’534

Patent. For example, to the extent the preamble of Claim 13 is limiting, the Accused IVR

Platform includes a “computer program product for dynamically extending speech prompts of a

multimodal application.”

           81.      The Accused IVR Platform includes “a recordable media having computer

program instructions.” As discussed above, the Accused IVR Platform is a software platform:20




20
     https://omilia.com/technology/omni-channel-conversational-platform/


                                                         26
             Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 27 of 51




           82.      The computer program instructions of the Accused IVR Platform are configured

to “receive a media file having a metadata container.” As discussed above, the Accused IVR

Platform is configured to operate on a mobile device through an application such as omMobile,

which supports user interaction through voice commands or non-voice commands like text-based

exchanges. On information and belief, at least because the Accused IVR Platform saves or

records call data and analyzes it for use in processing calls and/or building models, the media file

of the Accused IVR Platform includes a media file (such as an audio recording) and an

associated metadata container. The media file with a metadata container of the Accused IVR

Platform is received as part of the process of importing the media file;21 see also ¶ 53.




           83.      The computer program instructions of the Accused IVR Platform are configured

to “retrieve from the metadata container, a speech prompt related to content stored in the media

file for inclusion in the multimodal application.” A speech prompt, as used in the ’534 Patent, is

“an audio phrase played by a multimodal application to provoke a response from a user,” and


21
     https://omilia.com/technology/omni-channel-conversational-platform/ (annotated by counsel).


                                                         27
             Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 28 of 51




includes at least a text string prompt for execution by a text to speech engine or an audio prompt

to be played by the multimodal device. Upon information and belief, at least because it is

configured to interact with users in “unstructured” conversations, the metadata container is

configured to retrieve a speech prompt related to the content stored in the media file.

           84.      The computer program instructions of the Accused IVR Platform are configured

to “modify the multimodal application to include the speech prompt.”                         The Accused IVR

Platform includes appropriate speech prompts as part of its interactions with the caller to identify

a caller’s intent from collected media files reflecting a call session:22




           Upon information and belief, at least because the Accused IVR Platform maintains a

record of an entire conversation so that it can create a customized user interaction and identify

customer intent based on conversation history, the Accused IVR Platform is configured to

modify the multimodal application to include the speech prompt once it identifies the user’s

intent based on an analysis of the metadata container associated with the particular media file

reflecting the conversation history:23


22
     https://omilia.com/technology/omni-channel-conversational-platform/ (annotated by counsel)
23
     Id. (annotated by counsel).


                                                         28
         Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 29 of 51




       85.     Omilia also induces the infringement of the ’534 Patent by its customers in the

United States as discussed above under 35 U.S.C. § 271(b), both by configuring the Accused

IVR Platform to operate in a manner that Omilia knows infringes the ’534 Patent and by

encouraging its customers to use the Accused IVR Platform in a manner that Omilia knows

infringes the ’534 Patent. Omilia has had knowledge of the ’534 Patent since at least the filing

of this Complaint. According to Omilia’s website, through its “Certified Partner Program,”

Omilia has worked with Concentrix Corporation/Convergys, Speech-Soft Solutions, LLC, and

NICE inContact to make, use, offer to sell, or sell the Accused IVR Platform in the United

States. See ¶ 41.

       86.     Omilia has also sold or offered to sell the Accused IVR Platform in an infringing

configuration to its customers in the United States. See ¶ 42.

       87.     Omilia also contributes to the infringement of the ’534 Patent by its customers in

the United States as discussed above under 35 U.S.C. § 271(c). Omilia has had knowledge of the

’534 Patent at least as of filing of this Complaint. The Accused IVR Platform is a material part

of practicing at least the methods of Claim 13 of the ’534 Patent, has no substantial non-

infringing uses, is not a staple article of commerce, and is specifically made and adapted for use

in an infringing manner, as discussed above.




                                                29
          Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 30 of 51




         88.    Upon information and belief, Omilia has made and is continuing to make

unlawful gains and profits from its infringement of the ’534 Patent.

         89.    Omilia’s infringement has caused and will continue to cause irreparable harm to

Nuance unless Omilia’s infringing activities are preliminarily and permanently enjoined by this

Court.

         90.    Omilia’s infringement has also caused monetary damages to Nuance in an amount

to be determined at trial.

                         COUNT V: INFRINGEMENT OF THE ’804 PATENT
                                     UNDER 35 U.S.C. § 271

         91.    Nuance incorporates by reference the allegations contained in the foregoing

paragraphs as though fully stated herein.

         92.    Omilia and/or its customers directly infringe one or more claims of the ’804

Patent under 35 U.S.C. § 271(a), including at least Claim 1, either literally or under the doctrine

of equivalents by making, using, offering to sell, selling, and/or importing the Accused IVR

Platform in the United States without permission or license from Nuance.

         93.    By way of example only and not limitation, Claim 1 of the ’804 Patent claims:

         1. A system for managing individual call sessions of an interactive voice
         response (IVR) system comprising:

         an interactive voice response (IVR) system configured to execute a
         plurality of interaction files for a call session corresponding to a calling
         entity in response to a unit of speech input provided by the calling entity,

         wherein the IVR system converts the unit of speech input into a series of
         textual elements contained within event data messages, wherein the event
         data messages are associated with the call session by a unique Stream_ID;
         and

         a complex events processor (CEP) configured to dynamically modify the
         execution of the plurality of interaction files by the IVR system for the call
         session based on an analysis of the event data messages,



                                                  30
             Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 31 of 51




           wherein said modification is contained within an action message sent by
           the CEP to the IVR system, wherein the action message is identified with
           the Stream_ID corresponding to the analyzed the event data messages.

           94.      The Accused IVR Platform meets each element in at least Claim 1 of the ’534

Patent. For example, the Accused IVR Platform is a “system for managing individual call

sessions of an interactive voice response (IVR) system.” As discussed above, the Accused IVR

Platform is a system that manages individual call sessions of an IVR system. See ¶¶ 35, 66-67,

70.

           95.      The Accused IVR Platform includes “an interactive voice response (IVR) system

configured to execute a plurality of interaction files for a call session corresponding to a calling

entity in response to a unit of speech input provided by the calling entity.” The Accused IVR

Platform identifies a caller’s intent from collected speech units from a caller during a call

session, and executes processes based on the identified intent:24




           96.      The Accused IVR Platform includes an “IVR system” that “converts the unit of

speech input into a series of textual elements contained within event data messages, wherein the

event data messages are associated with the call session by a unique Stream_ID.” The Accused
24
     https://omilia.com/technology/omni-channel-conversational-platform/ (annotated by counsel)


                                                         31
             Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 32 of 51




IVR Platform converts speech input into text. At least because the Accused IVR Platform saves

or records historic call data and analyzes it for use in building models, the text will be contained

in event data messages that are associated with individual call sessions that are each assigned a

unique ID for ready identification and retrieval;25 see also ¶ 53.




           97.      The Accused IVR Platform includes “a complex events processor (CEP)

configured to dynamically modify the execution of the plurality of interaction files by the IVR

system for the call session based on an analysis of the event data messages.” Upon information

and belief, at least because the Accused IVR Platform maintains a record of an entire

conversation so that it can create a customized user interaction, the Accused IVR Platform is

configured to dynamically modify which interaction files to execute based on an analysis of the

event data messages associated with the particular conversation history:26




25
     https://omilia.com/technology/omni-channel-conversational-platform/ (annotated by counsel).
26
     Id. (annotated by counsel).


                                                         32
         Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 33 of 51




        98.    The Accused IVR Platform includes a system “wherein said modification is

contained within an action message sent by the CEP to the IVR system, wherein the action

message is identified with the Stream_ID corresponding to the analyzed the event data

messages.”    Upon information and belief, at least because the Accused IVR Platform is

configured to provide self-services for a user and identify intent based on conversation history,

the Accused IVR Platform executes action messages to perform a modified task or process once

it identifies the user’s intent. As discussed above, at least because the Accused IVR Platform

maintains historical call logs, upon information and belief actions messages from each call are

identified through a unique ID from each call.

        99.    Omilia also induces the infringement of the ’804 Patent by its customers in the

United States as discussed above under 35 U.S.C. § 271(b), both by configuring the Accused

IVR Platform to operate in a manner that Omilia knows infringes the ’804 Patent and by

encouraging its customers to use the Accused IVR Platform in a manner that Omilia knows

infringes the ’804 Patent. Omilia has had knowledge of the ’804 Patent since at least October 9,

2018. According to Omilia’s website, through its “Certified Partner Program,” Omilia has

worked with Concentrix Corporation/Convergys, Speech-Soft Solutions, LLC, and NICE

inContact to make, use, offer to sell, or sell the Accused IVR Platform in the United States. See

¶ 41.



                                                 33
          Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 34 of 51




         100.   Omilia has also sold or offered to sell the Accused IVR Platform in an infringing

configuration to its customers in the United States. See ¶ 42.

         101.   Omilia also contributes to the infringement of the ’804 Patent by its customers in

the United States as discussed above under 35 U.S.C. § 271(c). Omilia has had knowledge of the

’804 Patent since at least October 9, 2018. The Accused IVR Platform is a material part of the

system in at least Claim 1 of the ’804 Patent, has no substantial non-infringing uses, is not a

staple article of commerce, and is specifically made and adapted for use in an infringing manner,

as discussed above.

         102.   Upon information and belief, Omilia has made and is continuing to make

unlawful gains and profits from its infringement of the ’804 Patent.

         103.   As detailed above, Omilia has continued its infringement despite having

knowledge of the ’804 Patent and Nuance’s infringement claims.

         104.   Omilia’s infringement has caused and will continue to cause irreparable harm to

Nuance unless Omilia’s infringing activities are preliminarily and permanently enjoined by this

Court.

         105.   Omilia’s infringement has also caused monetary damages to Nuance in an amount

to be determined at trial.

                   COUNT VI: INFRINGEMENT OF THE ‘532 PATENT
                               UNDER 35 U.S.C. § 271

         106.   Nuance incorporates by reference the allegations contained in the foregoing

paragraphs as though fully stated herein.

         107.   Omilia and/or its customers directly infringe one or more claims of the ‘532

Patent under 35 U.S.C. § 271(a), including at least Claim 1, either literally or under the doctrine




                                                34
         Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 35 of 51




of equivalents by making, using, offering to sell, selling, and/or importing the Accused IVR

Platform in the United States without permission or license from Nuance.

       108.    By way of example only and not limitation, Claim 1 of the ‘532 Patent claims:

       1. A method comprising:

       receiving a voice utterance from a user;

       determining, using at least one speech engine operating on at least one processor
       and a plurality of grammars that each specifies a limited set of one or more
       acceptable inputs in a language of a plurality of languages, a plurality of speech
       recognition results for the voice utterance and a plurality of confidence levels, the
       at least one speech engine determining each of the plurality of speech recognition
       results by using at least one of the plurality of grammars and matching the voice
       utterance to the limited set of acceptable inputs identified by the at least one
       grammar of the plurality of grammars, each confidence level of the plurality of
       confidence levels corresponding to a respective speech recognition result of the
       plurality of speech recognition results and each of the plurality of speech
       recognition results corresponding to a respective language of the plurality of
       languages, wherein each of the plurality of confidence levels determined using the
       at least one speech engine indicates a confidence of the at least one speech engine
       that the voice utterance matches a matched input of the limited set of acceptable
       inputs identified by the at least one grammar used to determine the speech
       recognition result;

       evaluating the plurality of confidence levels for the plurality of speech recognition
       results to determine a speech recognition result of the plurality of speech
       recognition results having a highest confidence level of the plurality of confidence
       levels determined by the at least one speech engine; and

       selecting one of the plurality of languages for use in subsequently interacting with
       the user by selecting a language corresponding to the speech recognition result
       having the highest confidence level of the plurality of confidence levels
       determined by the at least one speech engine.

       109.    The Accused IVR Platform meets each element in at least Claim 1 of the ’532

Patent. For example, Omilia and/or its customers utilizing the Accused IVR Platform perform a

method for speech recognition with multiple language models based on a plurality of grammars

or ontologies that each specifies a limited set of one or more acceptable inputs for the language.

Omilia states that the Accused IVR Platform is capable of recognizing speech in multiple



                                                  35
           Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 36 of 51




languages based on pre-built concepts, dictionaries, rules, and intents for different dialects and

accents:




                                               36
         Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 37 of 51




       110.    The Accused IVR Platform assigns a plurality of confidence levels to a plurality

of speech recognition results. Upon information and belief, at least because it recognizes 17

languages, covers accent and dialectic variations within a country, and provides for speech

recognition for customers that do not speak a single language, the Accused IVR Platform is

configured to recognize and assign confidence levels to speech recognition results within a voice

utterance.

       111.    The Accused IVR Platform is configured for “evaluating the plurality of

confidence levels for the plurality of speech recognition results to determine a speech recognition

result of the plurality of speech recognition results having a highest confidence level of the

plurality of confidence levels determined by the at least one speech engine.” Upon information

and belief, at least because the Accused IVR Platform is configured to assign confidence levels

to multiple speech recognition results, and because it is ultimately capable of recognizing speech

in multiple different languages, the Accused IVR Platform is configured to evaluate the

confidence levels and determine which is the highest.

       112.    The Accused IVR Platform is configured to select “one of the plurality of

languages for use in subsequently interacting with the user by selecting a language

corresponding to the speech recognition result having the highest confidence level of the

plurality of confidence levels determined by the at least one speech engine.” Omilia states that

the Accused IVR Platform uses a “personalized approach to speech recognition” that is capable

of storing memory and completing end-to-end interactions with a user:




                                                37
         Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 38 of 51




       113.    Upon information and belief, at least because the Accused IVR Platform retains

memory and determines context and meaning for completing end-to-end interactions with a user

based on prior utterances, the Accused IVR Platform is configured to choose a language based

on the highest confidence level of an utterance and using that language for subsequent

interactions with the user.

       114.    Omilia also induces the infringement of the ’532 Patent by its customers in the

United States as discussed above under 35 U.S.C. § 271(b), both by configuring the Accused

IVR Platform to operate in a manner that Omilia knows infringes the ’532 Patent and by


                                              38
          Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 39 of 51




encouraging its customers to use the Accused IVR Platform in a manner that Omilia knows

infringes the ’532 Patent. Omilia has had knowledge of the ’532 Patent since at least the filing

of this Complaint. According to Omilia’s website, through its “Certified Partner Program,”

Omilia has worked with Concentrix Corporation/Convergys, Speech-Soft Solutions, LLC, and

NICE inContact to make, use, offer to sell, or sell the Accused IVR Platform in the United

States. See ¶ 40.

         115.   Omilia has also sold or offered to sell the Accused IVR Platform in an infringing

configuration to its customers in the United States. See ¶ 41.

         116.   Omilia also contributes to the infringement of the ’532 Patent by its customers in

the United States as discussed above under 35 U.S.C. § 271(c). Omilia has had knowledge of the

‘532 Patent at least as of filing of this Complaint. The Accused IVR Platform is a material part

of the system in at least Claim 1 of the ’532 Patent, has no substantial non-infringing uses, is not

a staple article of commerce, and is specifically made and adapted for use in an infringing

manner, as discussed above.

         117.   Upon information and belief, Omilia has made and is continuing to make

unlawful gains and profits from its infringement of the ’532 Patent.

         118.   Omilia’s infringement has caused and will continue to cause irreparable harm to

Nuance unless Omilia’s infringing activities are preliminarily and permanently enjoined by this

Court.

         119.   Omilia’s infringement has also caused monetary damages to Nuance in an amount

to be determined at trial.




                                                39
         Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 40 of 51




                  COUNT VII: INFRINGEMENT OF THE ‘688 PATENT
                               UNDER 35 U.S.C. § 271

       120.    Nuance incorporates by reference the allegations contained in the foregoing

paragraphs as though fully stated herein.

       121.    Omilia and/or its customers directly infringe one or more claims of the ‘688

Patent under 35 U.S.C. § 271(a), including at least Claim 1, either literally or under the doctrine

of equivalents by making, using, offering to sell, selling, and/or importing the Accused IVR

Platform in the United States without permission or license from Nuance.

       122.    By way of example only and not limitation, Claim 1 of the ‘688 Patent claims:

       1. A method for selecting context-dependent units for speech recognition
       comprising:

       accepting a representation of the first word from a first language in terms of
       subword units from a first set of subword units that is associated with the first
       language, including accepting a first subword unit of the first word which is
       adjacent to the second word from a second language according to a speech
       recognition grammar;

       determining a common set of features that characterize subword units in both the
       first set of subword units and in a second set of subword units that is associated
       with the second language; and

       selecting one or more first context-dependent units corresponding to the first
       subword unit according to features in the common set of features of a second
       subword unit of the second word which is adjacent to the first word according to
       the grammar.


       123.    The Accused IVR Platform meets each element in at least Claim 1 of the ’688

Patent. For example, Omilia and/or its customers utilizing the Accused IVR Platform perform a

method for “selecting context-dependent units for speech recognition comprising accepting a

representation of the first word from a first language in terms of subword units from a first set of

subword units that is associated with the first language, including accepting a first subword unit




                                                40
        Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 41 of 51




of the first word which is adjacent to the second word from a second language according to a

speech recognition grammar.” Omilia states that the Accused IVR Platform recognizes speech

from multiple languages based on the context and ontologies associated with such languages:




       124.   Omilia further states that the Accused IVR Platform is configured to use a

personalized approach to speech recognition for customers that speak multiple languages:




                                              41
        Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 42 of 51




       125.   This specifically includes speech recognition for users that are speaking in slang

or mixed languages:




       126.   Upon information and belief, at least because the Accused IVR Platform

recognizes speech from a user that is using mixed languages and/or slang, it is capable or

accepting a representation from a first word from a first language adjacent to a second word from

a second language.

       127.   The Accused IVR Platform determines “a common set of features that

characterize subword units in both the first set of subword units and in a second set of subword

units that is associated with the second language.” Upon information and belief, at least because

the Accused IVR Platform recognizes speech from an utterance that contains multiple languages,

it determines common features that characterize subword units from a first language and

subword units from a second language.


                                               42
         Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 43 of 51




       128.    The Accused IVR Platform selects “one or more first context-dependent units

corresponding to the first subword unit according to features in the common set of features of a

second subword unit of the second word which is adjacent to the first word according to the

grammar.” Omilia states that the Accused IVR Platform is context aware:




       129.    Upon information and belief, at least because the Accused IVR Platform is

capable of recognizing speech from an utterance that contains multiple languages, and because it

is context aware when it interacts with a user speaking multiple languages, it selects one or more

first context-dependent units corresponding to the first subword unit according to features in the

common set of features of a second subword unit of the second word which is adjacent to the

first word according to the grammar.

       130.    Omilia also induces the infringement of the ’688 Patent by its customers in the

United States as discussed above under 35 U.S.C. § 271(b), both by configuring the Accused

IVR Platform to operate in a manner that Omilia knows infringes the ’688 Patent and by

encouraging its customers to use the Accused IVR Platform in a manner that Omilia knows

infringes the ’688 Patent. Omilia has had knowledge of the ’688 Patent since at least the filing

of this Complaint. According to Omilia’s website, through its “Certified Partner Program,”

Omilia has worked with Concentrix Corporation/Convergys, Speech-Soft Solutions, LLC, and


                                               43
          Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 44 of 51




NICE inContact to make, use, offer to sell, or sell the Accused IVR Platform in the United

States. See ¶ 40.

         131.   Omilia has also sold or offered to sell the Accused IVR Platform in an infringing

configuration to its customers in the United States. See ¶ 41.

         132.   Omilia also contributes to the infringement of the ’688 Patent by its customers in

the United States as discussed above under 35 U.S.C. § 271(c). Omilia has had knowledge of the

‘688 Patent at least as of filing of this Complaint. The Accused IVR Platform is a material part

of the system in at least Claim 1 of the ’688 Patent, has no substantial non-infringing uses, is not

a staple article of commerce, and is specifically made and adapted for use in an infringing

manner, as discussed above.

         133.   Upon information and belief, Omilia has made and is continuing to make

unlawful gains and profits from its infringement of the ’688 Patent.

         134.   Omilia’s infringement has caused and will continue to cause irreparable harm to

Nuance unless Omilia’s infringing activities are preliminarily and permanently enjoined by this

Court.

         135.   Omilia’s infringement has also caused monetary damages to Nuance in an amount

to be determined at trial.

                    COUNT VIII: INFRINGEMENT OF THE ‘925 PATENT
                                  UNDER 35 U.S.C. § 271

         136.   Nuance incorporates by reference the allegations contained in the foregoing

paragraphs as though fully stated herein.

         137.   Omilia and/or its customers directly infringe one or more claims of the ‘925

Patent under 35 U.S.C. § 271(a), including at least Claim 27, either literally or under the doctrine




                                                44
        Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 45 of 51




of equivalents by making, using, offering to sell, selling, and/or importing the Accused IVR

Platform in the United States without permission or license from Nuance.

       138.   By way of example only and not limitation, Claim 27 of the ‘925 Patent claims:

       27. A computerized method of generating a second speech recognizer comprising
       the steps of:

       identifying a first speech recognizer of a first domain comprising a first acoustic
       model with a first decision network and corresponding first phonetic contexts;

       receiving domain-specific training data of a second domain; and

       based on the first speech recognizer and the domain-specific training data,
       generating a second acoustic model of said first domain and said second domain
       comprising a second acoustic model with a second decision network and
       corresponding second phonetic contexts, wherein the first domain comprises at
       least a first language, wherein the second domain comprises at least a second
       language, and wherein the second speech recognizer is a multi-lingual speech
       recognizer.

       139.   The Accused IVR Platform meets each element in at least Claim 27 of the ’925

Patent. For example, Omilia and/or its customers utilizing the Accused IVR Platform perform a

method for “generating a second speech recognizer” by first “identifying a first speech

recognizer of a first domain comprising a first acoustic model with a first decision network and

corresponding first phonetic contexts.” Omilia states that the Accused IVR Platform includes a

speech recognizer that can recognize speech from at least one language using acoustic models

and a decision network based on phonetic contexts:




                                               45
          Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 46 of 51




       140.   The Accused IVR Platform receives “domain-specific training data of a second

domain.” Omilia states that the Accused IVR Platform employs “Deep Learning” and a “method

of training and tuning” to “achieve Word Error Rates of less than half of legacy incumbent

providers.”




   141.       According to Omilia, the Accused IVR Platform recognizes at least 17 languages:




                                             46
         Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 47 of 51




       142.    Upon information and belief, at least because the Accused IVR Platform trains

and tunes its language models based on deep learning, and because it recognizes multiple

languages, it is configured to receive training data that is specific to a second domain or

language.

       143.    The Accused IVR Platform is configured to, “based on the first speech recognizer

and the domain-specific training data, generating a second acoustic model of said first domain

and said second domain comprising a second acoustic model with a second decision network and

corresponding second phonetic contexts, wherein the first domain comprises at least a first

language, wherein the second domain comprises at least a second language, and wherein the

second speech recognizer is a multi-lingual speech recognizer.” Omilia states that the Accused

IVR Platform recognizes speech from multiple languages using “adapted acoustic and language

models,” including variations in domains such as slangs, accents, and dialects:




                                               47
         Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 48 of 51




       144.    Upon information and belief, at least because the Accused IVR Platform

recognizes speech in multiple languages, and because the multi-language models are adapted

based on tuning and training, the Accused IVR Platform is configured to generate a second

speech recognizer with a second acoustic model and second decision network and corresponding

second phonetic contexts based on training data from at least two languages.

       145.    Omilia also induces the infringement of the ’925 Patent by its customers in the

United States as discussed above under 35 U.S.C. § 271(b), both by configuring the Accused

IVR Platform to operate in a manner that Omilia knows infringes the ’925 Patent and by

encouraging its customers to use the Accused IVR Platform in a manner that Omilia knows

infringes the ’925 Patent. Omilia has had knowledge of the ’925 Patent since at least the filing

of this Complaint. According to Omilia’s website, through its “Certified Partner Program,”

Omilia has worked with Concentrix Corporation/Convergys, Speech-Soft Solutions, LLC, and

NICE inContact to make, use, offer to sell, or sell the Accused IVR Platform in the United

States. See ¶ 40.

       146.    Omilia has also sold or offered to sell the Accused IVR Platform in an infringing

configuration to its customers in the United States. See ¶ 41.

       147.    Omilia also contributes to the infringement of the ’925 Patent by its customers in

the United States as discussed above under 35 U.S.C. § 271(c). Omilia has had knowledge of the

‘925 Patent at least as of filing of this Complaint. The Accused IVR Platform is a material part

of the system in at least Claim 1 of the ’925 Patent, has no substantial non-infringing uses, is not

a staple article of commerce, and is specifically made and adapted for use in an infringing

manner, as discussed above.




                                                48
          Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 49 of 51




         148.   Upon information and belief, Omilia has made and is continuing to make

unlawful gains and profits from its infringement of the ’925 Patent.

         149.   Omilia’s infringement has caused and will continue to cause irreparable harm to

Nuance unless Omilia’s infringing activities are preliminarily and permanently enjoined by this

Court.

         150.   Omilia’s infringement has also caused monetary damages to Nuance in an amount

to be determined at trial.

                                            JURY DEMAND

         Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Nuance respectfully requests

a trial by jury of any issues so triable.

                                      PRAYER FOR RELIEF

         WHEREFORE, Nuance respectfully requests that:

         A. Omilia be adjudged by this Court to have directly, indirectly, and/or contributorily

            infringed one or more claims of each of the Asserted Patents under 35 U.S.C. § 271;

         B. Omilia be adjudged by this Court to have willfully infringed one or more claims of

            each of the Asserted Patents from the time Omilia became aware of the infringing

            nature of its conduct, and that Nuance be awarded treble damages for the period of

            such willful infringement pursuant to 35 U.S.C. § 284;

         C. The Court find the Asserted Patents valid and enforceable;

         D. Omilia be ordered by this Court to account for and pay Nuance damages adequate to

            compensate Nuance for the infringement of one or more claims of the Asserted

            Patents, pursuant to 35 U.S.C. § 284;




                                                49
 Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 50 of 51




E. This Court enter a preliminary and permanent injunction pursuant to 35 U.S.C. § 283

   preventing continuing infringement of one or more claims of each of the Asserted

   Patents;

F. This case be deemed exceptional and Nuance be awarded interests, costs, expenses,

   and reasonable attorneys’ fees for this suit as provided by 35 U.S.C. § 285; and

G. Nuance be awarded such other and further relief as this Court may deem just and

   proper.




                                       50
        Case 1:19-cv-11438-PBS Document 1 Filed 06/28/19 Page 51 of 51




Date: June 28, 2019           Respectfully submitted,

                              /s/ Jennifer Itzkoff
                              Jennifer Itzkoff (MA BBO No. 675694)
                              WOMBLE BOND DICKINSON (US) LLP
                              Two International Place, Suite 2310
                              Boston, MA 02110
                              Telephone: (857) 287-3142
                              Jennifer.Itzkoff@wbd-us.com

                              Christian E. Mammen (to be admitted pro hac vice)
                              WOMBLE BOND DICKINSON (US) LLP
                              1841 Page Mill Road, Suite 200
                              Palo Alto, CA 94304
                              Telephone: (408) 341-3067
                              Chris.Mammen@wbd-us.com

                              Christine H. Dupriest (to be admitted pro hac vice)
                              WOMBLE BOND DICKINSON (US) LLP
                              271 17th Street, Suite 2400
                              Atlanta, Georgia 30363
                              Telephone: (404) 962-7538
                              Christine.Dupriest@wbd-us.com

                              David R. Boaz (to be admitted pro hac vice)
                              WOMBLE BOND DICKINSON (US) LLP
                              555 Fayetteville Street, Suite 1100
                              Raleigh, NC 27601
                              Telephone: (919) 755-8124
                              David.Boaz@wbd-us.com

                              Attorneys for Plaintiff Nuance Communications, Inc.




                                       51
